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 Attorneys for Defendants

                      IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF IDAHO


  In Re:                                            Chapter 7
  KA INVESTMENTS, INC.,                             Case No. 17-00495-TLM
                                                    Adv. Proc. No. 19-6035-TLM
                 Debtor.

                                                    ANSWER

  NOAH HILLEN, as Chapter 7 Trustee of
  the estate of KA Investments, Inc.,

                 Plaintiff

  LISA GROTTING f/k/a ALISA LYNNE
  ALLEN, an individual; KENNEDY
  ALLEN, an individual; and John Doe 1-10.

                 Defendant.


        COME NOW, Defendants Lisa Grotting f/k/a Alisa Lynne Allen, an individual; and

 Kennedy Allen, an individual (hereinafter referred to as “Defendants”), and answer Plaintiff Noah

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 Hillen, as Chapter 7 Trustee of the estate of KA Investments, Inc.’s Complaint filed in the

 above-entitled matter on or about April 24, 2019.

                                         FIRST DEFENSE

        Plaintiff’s Complaint fails to state a relief upon which relief can be granted.

                                        SECOND DEFENSE

                                                  I.

        Defendants deny Paragraphs 1, 5, 6, 7, 8, 15-33, 38-42, and 44-70.

                                                  II.

        Defendants admit Paragraph 2 and admit Paragraph 3 that Kennedy Allen is the daughter

 of Allen and Grotting but deny the balance of the allegations set forth in Paragraph 3.

                                                 III.

        Defendants are without sufficient information to admit the allegation in Paragraphs 4, 9,

 10, 11, 12, 13, and 14 of Plaintiff’s Complaint and therefore deny the same.

                                                 IV.

        Defendants admit Paragraphs 34 and 36 and admit that the Decree of Divorce speaks for

 itself but deny the balance of the allegations set forth in Paragraph 36 of Plaintiff’s Complaint.

                                                  V.

        Defendants admit Paragraph 37 of Plaintiff’s Complaint.

                                                 VI.

        Defendant denies each and every other allegation set forth in Plaintiff’s Complaint not

 specifically admitted herein.




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                                                 VII.

        Defendant is entitled to an award of reasonable costs and attorneys’ fees to be paid by

 Plaintiff as a result of having to defend against Plaintiff’s Complaint.



                                      AFFIRMATIVE DEFENSES

        The following defenses are applicable, where appropriate, to any and all of Plaintiff’s

 claims for relief. In asserting these defenses, Defendants do not admit that they have the burden of

 proving the allegations or denials contained in the defenses but, to the contrary, asserts that by

 reason of the denials or by reason of relevant statutory and judicial authority, the burden of proving

 the facts relevant to many or all of the defenses and the burden of proving the inverse of the

 allegations contained in the defenses is upon Plaintiff and not Defendants. Additionally,

 Defendants do not admit, in asserting any defense, any responsibility or liability, but, to the

 contrary, specifically denies any and all allegations of responsibility and liability to Plaintiff as

 asserted in Plaintiff’s Complaint.

                                 FIRST AFFIRMATIVE DEFENSE

        As a first affirmative defense herein, Defendants allege that to the extent they were

 transferees, they acted in good faith.

                               SECOND AFFIRMATIVE DEFENSE

        As a second affirmative defense herein, Defendants allege that they are unaware of any

 fraudulent intent on the part of the Debtor.

                                THIRD AFFIRMATIVE DEFENSE


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        As a third affirmative defense herein, Defendants allege that they exchanged reasonably

 equivalent value for any alleged property received.

                               FOURTH AFFIRMATIVE DEFENSE

        As a fourth affirmative defense herein, Defendants allege that any payments received by

 Defendants were to discharge financial obligations due and owing to Defendants.

                                 FIFTH AFFIRMATIVE DEFENSE

        As a fifth affirmative defense herein, Defendants allege that there was not a transfer of an

 interest to Defendants in property of the Debtor.

                                SIXTH AFFIRMATIVE DEFENSE

        As a sixth affirmative defense herein, Defendants allege that any alleged transfer was not

 for an antecedent debt.

                              SEVENTH AFFIRMATIVE DEFENSE

        As a seventh affirmative defense herein, the Defendants allege that the Debtor was not

 insolvent at the time of any alleged transfer.

                               EIGHTH AFFIRMATIVE DEFENSE

        As an eighth affirmative defense herein, the Defendants allege that they did not receive

 more than they would have received in a Chapter 7 liquidation proceeding.

                                   RESERVATION OF RIGHTS

        Defendants allege that they have not knowingly or intentionally waived any applicable

 affirmative defenses, and they reserve the right to assert and rely on any such other applicable

 affirmative defenses as they become available or apparent during discovery in this litigation, and

 therefore they reserve the right to amend this Answer and defenses accordingly, and to assert such


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 other and further affirmative defenses as may be appropriate.

        WHEREFORE, Defendants pray that Plaintiff’s Complaint be dismissed with prejudice,

 that that judgment be entered against Plaintiff for all of Defendants’ reasonable costs and

 attorneys’ fees incurred herein and such other and further relief as the Court deems just and proper.

        DATED this 13th day of May, 2019.

                                               DAVISON, COPPLE, COPPLE & COPPLE, LLP



                                               By:     /s/Terry C. Copple
                                                       Terry C. Copple, of the firm
                                                       Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 13th day of May, 2019, I filed the foregoing
 electronically through the CM/ECF System, which caused the following parties or counsel to be
 served by electronic means, as more fully reflected on the Notice of Electronic Filing:

        U.S. Trustee                 ustp.region18.bs.ecf@usdoj.gov

        Noah G. Hillen               ngh@hillenlaw.com

        Lewis N. Stoddard            lstoddard@aldridgepite.com, klansberry@aldridgepite.com

        Kaleena Bluemer              kaleena@angstman.com, kevin@angstman.com

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                                                         /s/Terry C. Copple
                                                         Terry C. Copple




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